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 Fill in this information to identify your case:

 Debtor 1                  Kathryn E Clark
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                 Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Bank of America                                       Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of        12450 Whisper Creek Ct.                            Reaffirmation Agreement.
    property              Charlotte Hall, MD 20622                           Retain the property and [explain]:
    securing debt:        former marital house



    Creditor's         Community Bank of the Chesapeake                      Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of        12450 Whisper Creek Ct.                            Reaffirmation Agreement.
    property              Charlotte Hall, MD 20622                           Retain the property and [explain]:
    securing debt:        former marital house



    Creditor's         SECU                                                  Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of        2015 Infiniti Q50S 82000 miles                     Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:


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 Debtor 1      Kathryn E Clark                                                                        Case number (if known)


     securing debt:



     Creditor's    Specialized Loan Servicing/SLS                           Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     12450 Whisper Creek Ct.                             Reaffirmation Agreement.
     property           Charlotte Hall, MD 20622                            Retain the property and [explain]:
     securing debt:     former marital house

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Weller-Davis Inc.                                                                                   No

                                                                                                                                  Yes

 Description of leased        this is the lease for primary residence; it is currently month to month
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Kathryn E Clark                                                          X
       Kathryn E Clark                                                                  Signature of Debtor 2
       Signature of Debtor 1

       Date        November 1, 2018                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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